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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                             CASE NO. 08-CR-20518

v.                                                    HONORABLE: PATRICK J. DUGGAN

ALI EL-MOUSSAOUI,

            Defendant.
__________________________________/


                STIPULATED PRELIMINARY ORDER OF FORFEITURE

       Plaintiff, by and through its attorneys, BARBARA L. MCQUADE, United States

Attorney for the Eastern District of Michigan, and LINDA AOUATE, Assistant U.S. Attorney

(“AUSA”), together with Defendant ALI EL-MOUSSAOUI, individually, and by and through

his attorney, MICHAEL A. RATAJ, ESQ., hereby submit this Stipulated Preliminary Order of

Forfeiture:

       1.      WHEREAS, on December 17, 2009, a Second Superseding Indictment

(“Indictment”) was filed in the United States District Court for the Eastern District of Michigan,

which charged Defendant ALI EL-MOUSSAOUI with violating 18 U.S.C. § 1343 (Wire Fraud)

7 U.S.C. § 2024 (Food Stamp Fraud), and 26 U.S.C. § 7206 (Filing False Tax Returns).

       2.      WHEREAS, the Indictment contains Forfeiture Allegations providing notice that

upon conviction the United States intends to seek (a) forfeiture of property constituting or

derived from proceeds, directly or indirectly, as the result of these violations, pursuant to 7

U.S.C. § 2024(h), 18 U.S.C. 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461, and (b) a money


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judgment against Defendant ALI EL-MOUSSAOUI representing the amount of proceeds

obtained as a result of the violations set forth in the Indictment.

        3.      WHEREAS, Defendant ALI EL-MOUSSAOUI entered into a Rule 11 Plea

Agreement (“Rule 11") and thereafter pleaded guilty to Counts Four and Ten of the Indictment.

In his Rule 11, Defendant ALI EL-MOUSSAOUI admitted, among other things, that during the

time period 2004 through February 2007, he engaged in a scheme to fraud the USDA, by

conducting prohibited food stamp transactions, with total losses to the USDA of $300,126.01.

        4.      WHEREAS, in his Rule 11, Defendant ALI EL- MOUSSAOUI agreed not to

contest the forfeiture of any money and property in the custody of the government arising out of

the related civil forfeiture case United States v. Thirty Four Thousand, Five Hundred Forty Six

Dollars and Seventeen Cents ($34,546.17) from Huntington Bank Account, et al., No. 07-cv-

13141-GER (E.D. Mich.) (hereinafter the “civil forfeiture case”).

        5.      WHEREAS, in his Rule 11, Defendant ALI EL-MOUSSAOUI agreed to the entry

of a personal money judgment against him in favor of the United States in the amount of

$300,126.01, and agreed that at least this amount constitutes, or was derived from, proceeds

obtained, directly or indirectly, from the wire fraud charged in the Indictment.

        6.      WHEREAS, Fed. R. Crim. P. 32.2(c)(1) provides that “no ancillary proceeding is

required to the extent that the forfeiture consists of a money judgment.”

        7.      WHEREAS, the government has agreed not to seek forfeiture in this criminal case

of the gas station and real property located at 8943 Puritan, Detroit, Michigan, either as a

forfeitable asset or a substitute asset.

        8.      WHEREAS, Pursuant to Fed.R.Crim.P. 32.2(b)(4)(A), Defendant ALI EL-


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MOUSSAOUI agrees that this Stipulated Preliminary Order of Forfeiture shall become effective

and final as to him immediately upon being entered by the Court.

       9.      NOW THEREFORE, based upon Defendant ALI EL-MOUSSAOUI’s

acknowledgment of forfeiture proceedings, the Indictment, the Rule 11 and guilty plea, and all

the information contained in the record, IT IS HEREBY ORDERED, ADJUDGED AND

DECREED THAT a forfeiture money judgment in the amount of $300,126.01 is granted and

entered against Defendant ALI EL-MOUSSAOUI in favor of the United States of America, as

this constitutes the least amount of proceeds obtained directly or indirectly from the fraud

alleged in the Indictment.

       10.     IT IS FURTHER HEREBY ORDERED that when this Order becomes final and

the defendants in rem in the related civil forfeiture case (U.S. v. $34,546.17, et al., Case No. 07-

cv-13141), have been forfeited to the United States, the $300,126.01 forfeiture money judgment

in this criminal case referenced above shall be reduced by $57,303.97, the amount forfeited in

the civil forfeiture case, leaving a balance owed by Defendant ALI EL-MOUSSAOUI on the

forfeiture money judgment in the amount of $242,822.04.

       11.     IT IS FURTHER ORDERED that, this Preliminary Order of Forfeiture shall

become final and effective as to Defendant ALI EL-MOUSSAOUI at the time it is entered by the

Court and shall be made part of Defendant ALI EL-MOUSSAOUI’s sentence and included in his

Judgment.

       12.     IT IS FURTHER ORDERED that the United States may, at any time, move,

pursuant to Fed. R. Crim. P. 32.2(e) to amend this Order of Forfeiture to substitute property

having a value not to exceed $242,822.04 to satisfy the money judgment in whole or in part,


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except that the government may not seek to amend this Order of Forfeiture to forfeit the gas

station and real property located at 8943 Puritan, Detroit, Michigan, pursuant to the

government’s agreement not to so.

       13.     IT IS FURTHER ORDERED that the United States District Court shall retain

jurisdiction in this case for the purpose of enforcing this Order.

Approved as to form and substance:

BARBARA L. McQUADE
United States Attorney


 s/ Linda Aouate                                      s/Michael A. Rataj
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 Dated: October 12, 2011                              Dated: October 12, 2011


                                                      s/Ali El-Moussaoui, see attached signature
                                                      ALI EL-MOUSSAOUI, Defendant

                                                      Dated: October 12, 2011


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      IT IS SO ORDERED.

                               s/Patrick J. Duggan
                               Patrick J. Duggan
                               United States District Judge
Dated: October 13, 2011
I hereby certify that a copy of the foregoing document was served upon counsel of record on
October 13, 2011, by electronic and/or ordinary mail.
                               s/Marilyn Orem
                               Case Manager

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